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          EXHIBIT B
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                                                   U.S. Department of Justice
                                                   Federal Bureau of Prisons

                                                   North Central Regional Office


Office of the Regional Counsel                     400 State Avenue
                                                   Tower II, Suite 800
                                                   Kansas City, KS 66101


                                                                       January 21, 2022
Abigail Robinson
Beldock Levine & Hoffman LLP
99 Park Avenue
PH 26th Floor
New York, NY 10016

Dear Requester:

The Federal Bureau of Prisons (BOP) received your Freedom of Information Act/Privacy
Act (FOIA/PA) request. Your request has been assigned a number and forwarded to the
processing office noted below. Please make a note of the request number and
processing office as you will need to include it in any correspondence or inquiry
regarding your request for records pertaining to Everson, Bobby #14009-052.

FOIA/PA Request Number:           2022-01789
Processing Office:                NCR

The time needed to complete our processing of your request depends on the complexity
of our records search and the volume and complexity of any records located. Each
request is assigned to one of three tracks: simple, complex, or expedited. Due to the
large number of FOIA/PA requests received by BOP and the limited resources available
to process such requests, BOP handles each request on a first-in, first-out basis in
relation to other requests in the same track. Your request was assigned to the complex
track and placed in chronological order based on the date of receipt.

We determined unusual circumstances exist as the documents responsive to your
request must be searched for and collected from a field office, and/or the documents
responsive to your request are expected to be voluminous and will require significant
time to review, and/or your request requires consultation with at least one other agency
with a substantial interest in your request. Because of these unusual circumstances, we
are extending the time limit to respond to your request for the ten additional days
provided by the statute. Processing complex requests may take up to nine months.
Pursuant to 28 C.F.R. § 16.5(b) and (c), you may narrow or modify your request in an
effort to reduce the processing time.
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Pursuant to 28 C.F.R. § 16.10, in certain circumstances we are required to charge fees
for time spent searching for or duplicating responsive documents. If we anticipate your
fees will be in excess of $25.00 or the amount you have indicated you are willing to pay,
we will notify you of the estimated amount. At that time, you will have the option to
reformulate your request to reduce the fees. If you requested a fee waiver, we will make
a decision whether to grant your request after we determine whether fees will be
assessed for this request.

If you have any questions or wish to discuss reformulation or an alternative time frame
for the processing of your request, please feel free to contact the NCR at 913-551-1004
or the Federal Bureau of Prisons’ (BOP) FOIA Public Liaison, Mr. C. Darnell Stroble at
202-616-7750, 320 First Street NW, Suite 936, Washington DC 20534, or
ogc_efoia@bop.gov. You can also check the status of your request on line at
http://www.bop.gov/PublicInfo/execute/foia.

Additionally, you may contact the Office of Government Information Services (OGIS) at
the National Archives and Records Administration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is as follows: Office of
Government Information, Services, National Archives and Records Administration,
Room 2510, 8601 Adelphi Road, College Park, Maryland 20740-6001; e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at
202-741-5769.

Sincerely,




Mary A. Noland
Regional Counsel
